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 5

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 7                             UNITED STATES DISTRICT COURT
 8                                      DISTRICT OF NEVADA
 9

10    UNITED STATES OF AMERICA,                       )   2:13-cr-00070-GMN-PAL
                                                      )
11                     Plaintiff,                     )
                                                      )   STIPULATION FOR PROTECTIVE ORDER
12                     vs.                            )
                                                      )
13    ALLAN DOBKOWSKI, et al                          )
                                                      )
14                     Defendants.                    )
                                                      )
15

16             IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,

17    United States Attorney for the District of Nevada, and Andrew W. Duncan, Assistant United States

18    Attorney, counsel for the United States, Paola M. Armeni, counsel for defendant FRANK EVANS,

19    that this Court issue an Order protecting from disclosure to the public any discovery documents

20    containing the personal identifying information such as social security numbers, drivers license

21    numbers, dates of birth, or addresses, of participants, witnesses and victims in this case. Such

22    documents shall be referred to hereinafter as “Protected Documents.” The parties state as follows:

23             1.    Protected Documents which will be used by the government in its case in chief include

24    personal identifiers, including social security numbers, drivers license numbers, dates of birth, and

25    addresses, of participants, witnesses, and victims in this case.

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 1              2.    Discovery in this case is voluminous. Many of the documents include personal

 2    identifiers.

 3              3.    The United States agrees to provide Protected Documents without redacting the

 4    personal identifiers of participants, witnesses, and victims.

 5              4.    Access to Protected Documents will be restricted to persons authorized by the Court,

 6    namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts, and

 7    secretaries employed by the attorney(s) of record and performing on behalf of defendant.

 8              5.    The following restrictions will be placed on defendant, defendant’s attorney(s) and the

 9    above-designated individuals unless and until further ordered by the Court. Defendants, defendants’

10    attorneys and the above-designated individuals shall not:

11                    a.     make copies for, or allow copies of any kind to be made by any other person

12    of Protected Documents;

13                    b.     allow any other person to read Protected Documents; and

14                    c.     use Protected Documents for any other purpose other than preparing to defend

15    against the charges in the Superseding Indictment or any further superseding indictment arising out

16    of this case.

17              6.    Defendant’s attorney(s) shall inform any person to whom disclosure may be made

18    pursuant to this order of the existence and terms of this Court’s order.

19              7.    The requested restrictions shall not restrict the use or introduction as evidence of

20    discovery documents containing personal identifying information such as social security numbers,

21    drivers license numbers, dates of birth, and addresses during the trial of this matter.

22              8.    Upon conclusion of this action, defendant’s attorney(s) shall return to government

23    counsel or destroy and certify to government counsel the destruction of all discovery documents

24    . . .

25    . . .

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 1    containing personal identifying information such as social security numbers, drivers license numbers,

 2    dates of birth, and addresses within a reasonable time, not to exceed thirty days after the

 3    last appeal is final.

 4    DANIEL G. BOGDEN
      United States Attorney
 5

 6    ________/s/_________________                                 7/9/2013
      ANDREW W. DUNCAN                                             DATE
 7    Assistant United States Attorney

 8

 9    ________/s/_________________                                 6/5/2013
      PAOLA M. ARMENI                                              DATE
10    Counsel for defendant
      FRANK EVANS
11

12

13                                                  ORDER

14              IT IS SO ORDERED thisWK day of-XO\2013.

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16                                                          _________________________________
                                                            UNITED STATES 0$*,675$7( JUDGE
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